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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SYLVIA CRUZ,                    )
                                )
            Plaintiff,          ) CIVIL ACTION NO.:
                                )
       v.                       )
                                )
D F STAUFFER BISCUIT CO., INC., ) JURY TRIAL DEMANDED
d/b/a STAUFFER BISCUIT COMPANY )
                                )
            Defendant.          ) ELECTRONICALLY FILED
                                )

                                 COMPLAINT

      Plaintiff, SYLVIA CRUZ, a resident of Kings County, New York, by and

through her attorneys, brings this civil action for damages against the above-named

Defendant, D F STAUFFER BISCUIT CO., INC., d/b/a, STAUFFER BISCUIT

COMPANY, demands a trial by jury, and complains and alleges as follows:

                                 THE PARTIES

      1.    Plaintiff, Sylvia Cruz (hereinafter referred to as “Ms. Cruz” or

“Plaintiff”) is an adult individual who currently resides at 389 Chauncey Street,

Apartment 3B, Brooklyn, Kings County, New York.

      2.    Defendant, D F Stauffer Biscuit Co., Inc., d/b/a Stauffer Biscuit

Company (hereinafter referred to as “Stauffer’s” or “Defendant”), is a

Pennsylvania business corporation with its corporate headquarters located at 360

South Belmont Street, York, York County, Pennsylvania.
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                                  JURISDICTION AND VENUE

        3.       This Complaint alleges illegal harassment/discrimination on the basis

of Ms. Cruz’s sex, as well as retaliation, all in violation of the laws and statutes of

the United States of America, specifically, Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000d et seq. (“Title VII”).1

        4.       This Honorable Court has jurisdiction of this matter, case, and

controversy pursuant to 28 U.S.C. §§ 1331, 1343(a)(4), and 42 U.S.C. § 2000e-

5(f).

        5.       Declaratory relief is sought pursuant to 28 U.S.C. §§ 2201 and 2202.

        6.       Venue is proper in the Middle District of Pennsylvania pursuant to 28

U.S.C. § 1391(b) because a substantial part of the events or omissions giving rise

to these claims occurred in this Judicial District.

                             ADMINISTRATIVE PROCEEDINGS

        7.       On or about October 13, 2018, Ms. Cruz filed a Charge of

Discrimination against Defendant with the Equal Employment Opportunity

Commission (“EEOC”), which was docketed as EEOC Charge 530-2019-00459,

alleging sex discrimination and retaliation, and with instructions to cross-file with

the Pennsylvania Human Relations Commission.

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  Plaintiff intends to amend her Complaint in this matter to include state claims of discrimination/harassment and
retaliation pursuant to the Pennsylvania Human Relations Act, 42 P.S. § 951, et seq., once these claims become ripe
on or about October 13, 2019 (one year from their administrative filing date).




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      8.     Ms. Cruz has been advised of her individual right to bring a civil

action by receiving a Dismissal and Notice of Rights from the EEOC, dated April

17, 2019.

      9.     All necessary and appropriate administrative prerequisites to the filing

of this action have occurred and been satisfied.

                            STATEMENT OF FACTS

      10.    Ms. Cruz was hired by Stauffer’s in or about May of 2018.

      11.    At the very inception of Ms. Cruz’s employment, she was subjected to

unwanted sexual touching and sexually intimidating behavior by her supervisor,

Derrek (last name unknown).

      12.    Specifically, Derrek purposefully moved his hand against Ms. Cruz’s

buttocks.

      13.    Upon information and belief, this type of incident was apparently

quite commonplace from Derrek towards female workers at Stauffer’s; however, it

was not requested by or welcomed by Sylvia.

      14.    Immediately after the offensive sexual touching, Sylvia assertively

told Derrek that his behavior was not welcome and had better never happen again.

      15.    Derrek responded by saying that Ms. Cruz had better watch herself or

he would have her terminated.




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      16.     Following this incident, and on the same day, Ms. Cruz reported what

had occurred to Donna (last name unknown) in Human Resources at Stauffer’s.

      17.     Donna informed Ms. Cruz that she would look into the matter.

      18.     Sylvia returned to her work only to be told later that same day by

Donna that due to “disciplinary reasons,” she was being terminated from her

employment with Stauffer’s.

      19.     Sylvia had never been written up or disciplined while employed by

Stauffer’s.

      20.     Consequently, Ms. Cruz suffered a wrongful termination from

Stauffer’s under the pretext of “disciplinary reasons,” due to Stauffer’s

unwillingness to deal appropriately with Derrek’s unlawful behavior towards Ms.

Cruz in a way which would have enabled her to perform her job free from sexual

discrimination/harassment and retaliation.

      21.     Stauffer’s retaliated against Ms. Cruz by denying her the same

enjoyment of all benefits, privileges, terms, and conditions of the employment

relationship as employees who had not complained about sexual harassment, in

violation of Title VII.

      22.     Stauffer’s created, permitted, tolerated, encouraged, and fostered an

environment in which sexual harassment was tolerated and in which retaliation for

employees taking part in protected activity actively occurred.


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      23.    As a consequence of the sexual harassment and the retaliatory

behavior by Stauffer’s, Ms. Cruz was subjected to emotional distress, humiliation,

ridicule, and a denial of all benefits, privileges, terms, and conditions of the

contractual relationship between employer and employee, all of which manifested

itself in mental and physical distress, injury, and damage.

      24.    As a result of the hostile environment and retaliation, Ms. Cruz has

suffered emotional distress and a loss of self-respect and confidence, and her

standing in the community has been damaged.

                                      COUNT I

                        TITLE VII VIOLATIONS
                 SEXUAL HARASSMENT/DISCRIMINATION
                         (Plaintiff v. Defendant)

      25.    All prior paragraphs are incorporated herein as if set forth fully below.

      26.    The acts of Defendant and its officers, agents, and employees

manifesting and permitting this hostile environment included allowing Plaintiff’s

co-worker to sexually harass and assault her.

      27.    As a consequence of the hostile environment supported and

encouraged by Defendant’s actions and failures to act, Plaintiff was subjected to

emotional distress, humiliation, ridicule, and a negative effect on her work product

and ability to fully and effectively perform her job duties and responsibilities, all of

which manifested itself in mental distress, injury, and damage.


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       28.   As a result of the hostile environment, Ms. Cruz has suffered, and

continues to suffer, emotional distress, a loss of self-respect and confidence, and

has been subjected to great damage to her career and professional standing.

       29.   The actions of Defendant set forth above constitute violations of Title

VII.

       WHEREFORE, Plaintiff, Sylvia Cruz, seeks damages against Defendant, D

F Stauffer Biscuit Co., Inc. d/b/a Stauffer Biscuit Company, as set forth in the Ad

Damnum clause of the instant Complaint, infra.

                                     COUNT II

                            TITLE VII VIOLATIONS
                                RETALIATION
                             (Plaintiff v. Defendant)

       30.   All prior paragraphs are incorporated herein as if set forth fully below.

       31.   At all times relevant herein, Defendant acted by and through its

agents, servants, and employees, to retaliate against Ms. Cruz by terminating her as

a result of reporting sexual harassment, using the pretext of alleged “disciplinary

reasons,” in an attempt to justify her otherwise wrongful termination.

       32.   The actions of Defendant set forth above constitute violations of Ms.

Cruz’s federal civil rights under Title VII.




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      33.   As a result of this retaliation, Ms. Cruz has suffered economic loss,

emotional distress, and a loss of self-respect and confidence, and her standing in

the community has been damaged.

      WHEREFORE, Plaintiff, Sylvia Cruz, seeks damages against Defendant, D

F Stauffer Biscuit Co., Inc. d/b/a Stauffer Biscuit Company, as set forth in the Ad

Damnum clause of the instant Complaint, infra.

               AD DAMNUM CLAUSE/PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, Sylvia Cruz, prays that this Honorable Court

enters judgment in her favor and against Defendant, D F Stauffer Biscuit Co., Inc.

d/b/a Stauffer Biscuit Company, and that it enters an Order as follows:

      a.    Defendant is to be permanently enjoined from harassing or

            retaliating against Ms. Cruz on the basis of her sex and/or any

            basis prohibited under applicable federal and state law;

      b.    Defendant is to be prohibited from continuing to maintain its

            illegal policy, practice, or custom of harassing or retaliating

            against employees based on their sex and are to be ordered to

            promulgate an effective policy against such harassment and

            retaliation and to adhere thereto;




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c.       Defendant is to compensate Ms. Cruz, reimburse Ms. Cruz, and

         to make Ms. Cruz whole for any and all pay and benefits she

         would have received had it not been for Defendant’s illegal

         actions, including but not limited to back pay, front pay, salary,

         pay increases, bonuses, medical and other benefits, training,

         promotions, pension and seniority.        Ms. Cruz should be

         accorded those benefits illegally withheld from the date she first

         suffered harassment and retaliation at the hands of Defendant

         until the date of verdict;

d.       Ms. Cruz is to be awarded actual damages, as well as damages

         for the pain, suffering, and humiliation caused to her by

         Defendant’s actions;

e.       Punitive damages as provided for under Title VII;

f.       Ms. Cruz is to be accorded any and all other equitable and legal

         relief as the Court deems just, proper, and appropriate;

g.       Ms. Cruz is to be awarded the costs and expenses of this action

         and reasonable legal fees as provided by applicable law;

h.       Any verdict in favor of Ms. Cruz is to be molded by the Court

         to maximize the financial recovery available to Ms. Cruz in

         light of the caps on certain damages set forth in applicable law;


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      i.       Ms. Cruz is to be granted such additional injunctive or other

               relief as she may request during the pendency of this action in

               an effort to ensure Defendant does not engage - or ceases

               engaging - in illegal retaliation against Ms. Cruz or other

               witnesses to this action; and

      j.       The Court is to maintain jurisdiction of this action after verdict

               to ensure compliance with its Orders therein.

                                   DEMAND FOR JURY

      Pursuant to Federal Rule of Civil Procedure 38(b) and otherwise, Ms. Cruz

respectfully demands a trial by jury.




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                                       Respectfully submitted,

                                       Weisberg Cummings, P.C.

May 22, 2019                           /s/ Derrek W. Cummings
Date                                   Derrek W. Cummings, Esquire
                                       PA Bar I.D. #: 83286
                                       dcummings@weisbergcummings.com

                                       /s/ Larry A. Weisberg
                                       Larry A. Weisberg, Esquire
                                       PA Bar I.D. #: 83410
                                       lweisberg@weisbergcummings.com

                                       /s/ Stephen P. Gunther
                                       Stephen P. Gunther, Esquire
                                       PA Bar I.D. #: 324203
                                       sgunther@weisbergcummings.com

                                       /s/ Steve T. Mahan
                                       Steve T. Mahan, Esquire
                                       PA Bar I.D. #: 313550
                                       smahan@weisbergcummings.com

                                       2704 Commerce Drive, Suite B
                                       Harrisburg, PA 17110
                                       (717) 238-5707
                                       (717) 233-8133 (FAX)

                                       Counsel for Plaintiff




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